     Case 2:21-cv-14110-KMM Document 19 Entered on FLSD Docket 08/24/2021 Page 1 of 2




                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

        VIRGINIA EBANKS,

                             Plaintiff,

        v.
                                                             Case No.: 2:21-cv-14110-KMM

        PHILLIPS & COHEN ASSOCIATES, LTD.,

                          Defendant.
        ______________________________________

                               JOINT DISCOVERY STATUS REPORT


              a) what discovery has been propounded by each party;

              Plaintiff has issued written discovery requests to Defendant.

              b) whether the discovery requests have been answered;

              Defendant’s responses to Plaintiff’s discovery requests are due on September 3, 2021.

              c) the status of depositions, including:

                     1. the number of depositions already taken;

                     None

                     2. the number of remaining depositions and whether they have been scheduled; and

                     The Parties anticipate that a 30b6 deposition and the deposition of Plaintiff will be

                     conducted.

                     3. an explanation of any delay in scheduling the remaining depositions;

                     The Parties have been involved in settlement discussions and prior to expending fees and

                     time preparing for Depositions, have been attempting to resolve the matter.

              d) the status of expert disclosures;

              The parties have not made any expert disclosures.


118836947v1
     Case 2:21-cv-14110-KMM Document 19 Entered on FLSD Docket 08/24/2021 Page 2 of 2


                e) whether there are any outstanding discovery disputes;

                There are not any outstanding discovery disputes.

                f) whether the parties believe that a discovery status conference is needed and whether it may

        be canceled; and

                The parties do not believe the discovery status conference is needed at this time. The parties are

        amicably working together on discovery.

                g) whether the parties can certify that all discovery will be completed by the discovery

        deadline.

                The current discovery deadline of October 11, 2021 should serve as an adequate deadline to complete

        all discovery.



        Date: August 24, 2021


         /s/ Alejandro E. Figueora                             /s/ Gillian Williston
         Alejandro E. Figueroa, Esq.                           Gillian Williston, FBN: 14270
         Florida Bar No. 1021163                               TROUTMAN PEPPER
         Sulaiman Law Group, Ltd.                              HAMILTON SANDERS LLP
         2500 S. Highland Ave, Suite 200                       222 Central Park Avenue, Suite 2000
         Lombard, IL 60148                                     Virginia Beach, VA 23462
         Telephone: (630) 575-8181                             Telephone: (757) 687-7517
         Facsimile: (630) 575-8188                             Facsimile: (757) 687-7510
         alejandrof@sulaimanlaw.com                            E-mail: gillian.williston@troutman.com
         Counsel for Plaintiff
                                                               Counsel for Defendant Phillips & Cohen
                                                               Associates, Ltd.




118836947v1
